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UNITED STATES COURT OF INTERNATIONAL TRADE

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SCOTTSDALE TOBACCO, LLC,                                               :
                                                                       :
                 Plaintiff,                                            :
                                                                       :
                 v.                                                    :            Court No. 24-22
                                                                       :
UNITED STATES,                                                         :
                                                                       :
                 Defendant.                                            :
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                                                 COMPLAINT

        Plaintiff, SCOTTSDALE TOBACCO, LLC, by and through its undersigned counsel, for

its Complaint in this matter against Defendant, the UNITED STATES, does hereby state, plead,

and allege as follows:


                                            CAUSE OF ACTION

        1.       This action is brought to challenge the denial, by United States Customs and Border

Protection, of Plaintiff’s protest against CBP’s refusal to pay a claim for 19 U.S.C. § 1313(j)(2)

drawback.


                                               JURISDICTION

        2.       This Court has exclusive subject matter jurisdiction of this action pursuant to 28

U.S.C. § 1581(a).

        3.       To the extent required, all liquidated duties, taxes and fees were paid prior to the

commencement of this action.
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                                              PARTIES

       4.      Plaintiff, Scottdale Tobacco LLC. (“Scottsdale Tobacco” or “Plaintiff”), is a

privately held company which exported the merchandise which is the subject of the claim for 19

U.S.C. § 1313(j)(2) drawback, protested the liquidation of its claim without allowance of

drawback, and is the real party in interest in this action.

       5.      Defendant, United States, is the Federal Defendant. It acted through its agency,

United States Customs and Border Protection (“CBP” or “Customs”), a unit of the Department of

Homeland Security.


                                    STATEMENT OF FACTS

       6.      On various dates between March 16, 2018, and November 12, 2018, Plaintiff

imported Canadian-origin paper-wrapped cigarettes into the United States for consumption and

paid Federal Excise Taxes owed thereon.

       7.      The imported cigarettes, which were designated as the basis for the drawback claim

which is the subject of this action, were withdrawn from Foreign Trade Zone 35, Port Everglades,

Florida, where they had been admitted in “Nonprivileged Foreign” status and were entered for

consumption under cover of various Type 06 Foreign Trade Zone consumption entries. Federal

Excise Tax was paid at the rate of $50.33 per 1000 cigarette sticks.

       8.      The imported cigarettes were classified under subheading 2402.20.8000 of the

Harmonized Tariff Schedule of the United States (“HTSUS”), which provides for “Cigars,

cheroots, cigarillos and cigarettes, of tobacco or of tobacco substitutes: Cigarettes containing

tobacco; Other; paper-wrapped.”

       9.      On various dates between December 16, 2018, and February 11, 2019, Plaintiff

exported US-origin paper-wrapped cigarettes from the United States.



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        10.      The exported cigarettes, which were designated as “substituted” in the subject

drawback claim, were exported by admitting them into Foreign Trade Zone 35, Port Everglades,

Florida, with “zone restricted” status.

        11.      The exported cigarettes were classified under subheading 2402.20.8000, HTSUS,

which provides for “Cigars, cheroots, cigarillos and cigarettes, of tobacco or of tobacco substitutes:

Cigarettes containing tobacco; Other; paper-wrapped.”

        12.      The Foreign Trade Zones Act, which is the best evidence of its contents, indicates

in pertinent part :

        [t]hat under the rules and regulations of the controlling Federal agencies, articles
        which have been taken into a zone from customs territory for the sole purpose of
        exportation, destruction (except destruction of distilled spirits, wines, and
        fermented malt liquors), or storage shall be considered to be exported for the
        purpose of-

              (1) the draw-back, warehousing, and bonding, or any other provisions of the
                  Tariff Act of 1930, as amended, and the regulations thereunder; and

              (2) the statutes and bonds exacted for the payment of draw-back, refund, or
                  exemption from liability for internal-revenue taxes and for the purposes of
                  the internal-revenue laws generally and the regulations thereunder.”

See 19 U.S.C. § 81c

        13.      Section 146.44 of the Customs Regulations, 19 C.F.R. § 146.44, which constitutes

the best evidence of its contents, provides:

        § 146.44 Zone-restricted status.

        (a) General. Merchandise taken into a zone for the sole purpose of exportation,
        destruction (except destruction of distilled spirits, wines, and fermented malt
        liquors), or storage will be given zone-restricted status on proper application. That
        status may be requested at any time the merchandise is located in a zone, but cannot
        be abandoned once granted. Merchandise in zone-restricted status may not be
        removed to Customs territory for domestic consumption except where the Board
        determines the return to be in the public interest.




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       (b) Application. Application for zone-restricted status will be made on Customs
       Form 214.

       (c) Merchandise considered exported—(1) For Customs purposes. If the applicant
       desires a zone-restricted status in order that the merchandise may be considered
       exported for the purpose of any Customs law, all pertinent Customs requirements
       relating to an actual exportation shall be complied with as though the admission of
       the merchandise into zone constituted a lading on an exporting carrier at a port of
       final exit from the U.S. Any declaration or form required for actual exportation will
       be modified to show the merchandise has been deposited in a zone in lieu of actual
       exportation, and a copy of the approved Customs Form 214 may be accepted in lieu
       of any proof of shipment required in cases of actual exportation.

       14.        On February 15, 2019, Plaintiff caused to be filed with CBP drawback entry

H52-0005246-3, which sought payment of “substitution unused merchandise drawback,” pursuant

to Section 313(j)(2) of the Tariff Act of 1930, as amended, 19 U.S.C. § 1313(j)(2).

       15.        Drawback Entry H52-0005246-3 identified the imported cigarettes described in

paragraphs 6 through 8 of this Complaint as the basis of the drawback claim, and identified the

exported merchandise described in paragraphs 9 through 11 of this Complaint as the “substituted”

merchandise.

       16.        On October 23, 2022, CBP liquidated Drawback Entry H52-0005246-3 “no

drawback,” refusing to pay the claim.

       17.        On April 18, 2023, Plaintiff timely filed New York protest 1001-23101310,

challenging the denial of drawback in liquidation.

       18.        On January 19, 2024, CBP denied Plaintiff’s protest. Plaintiff timely commenced

this action by filing a Summons in this Court.

                                              COUNT I

       19.        Paragraphs 1 through 18 are restated and incorporated by reference as though fully

set out herein.




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       20.      Section 313(j)(2) of the Tariff Act, 19 U.S.C. § 1313(j)(2), which is the best

evidence of its contents, provides in pertinent part as follows:

       (2) Subject to paragraphs (4), (5), and (6), if there is, with respect to imported
       merchandise on which was paid any duty, tax, or fee imposed under Federal law
       upon entry or importation, any other merchandise (whether imported or domestic),
       that—

             (A) is classifiable under the same 8-digit HTS subheading number as such
             imported merchandise;

             (B) is, before the close of the 5-year period beginning on the date of importation
             of the imported merchandise and before the drawback claim is filed, either
             exported or destroyed under customs supervision; and

             (C) before such exportation or destruction—

                (i) is not used within the United States, and

                (ii)is in the possession of, including ownership while in bailment, in leased
                facilities, in transit to, or in any other manner under the operational control
                of, the party claiming drawback under this paragraph, if that party—

                    (I) is the importer of the imported merchandise, or

                    (II) received the imported merchandise, other merchandise classifiable
                    under the same 8-digit HTS subheading number as such imported
                    merchandise, or any combination of such imported merchandise and
                    such other merchandise, directly or indirectly from the person who
                    imported and paid any duties, taxes, and fees imposed under Federal law
                    upon importation or entry and due on the imported merchandise (and
                    any such transferred merchandise, regardless of its origin, will be treated
                    as the imported merchandise and any retained merchandise will be
                    treated as domestic merchandise);

             then, notwithstanding any other provision of law, upon the exportation or
             destruction of such other merchandise an amount calculated pursuant to
             regulations prescribed by the Secretary of the Treasury under subsection (l)
             shall be refunded as drawback.

       21.      Claims for drawback must be filed within five (5) years after the date of importation

of the merchandise designated in the claim. The subject drawback claim was timely.




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        22.      Both the imported designated merchandise and the exported substituted

merchandise are classifiable under the same 8-digit subheading of the HTSUS, to wit,

subheading 2402.20.8000, HTSUS.

        23.      Drawback claim H5209995246-3 met the requirements for the payment of

substitution unused merchandise drawback of Federal Excise Taxes under 19 U.S.C. § 1313(j)(2),

and the claim should have been liquidated with full payment of drawback.

                                              COUNT II

        24.      Paragraphs 1 through 23 of this Complaint are incorporated by reference as though

fully set out herein.

        25.      Section 504(a)(2)(A) of the Tariff Act of 1930, as amended, 19 U.S.C.

§ 1504(a)(2)(A), which is the best evidence of its contents, provides:

        (2) Entries or claims for drawback

              (A) In general

              Except as provided in subparagraph (B) or (C), unless an entry or claim for
              drawback is extended under subsection (b) of this section or suspended as
              required by statute or court order, an entry or claim for drawback not liquidated
              within 1 year from the date of entry or claim shall be deemed liquidated at the
              drawback amount asserted by the claimant or claim. Notwithstanding section
              1500(e) of this title, notice of liquidation need not be given of an entry deemed
              liquidated.

        26.      Customs did not extend the liquidation date for Drawback Entry H52-0005246-3

within one-year of the date of its filing.

        27.      Accordingly, Drawback Entry H52-0005246-3 was deemed liquidated, one-year

after its filing at the drawback amount asserted in the claim.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that this Court enter judgment in its favor, directing

Defendant to reliquidate Drawback Claim H52-0005246-3 with a full refund of duties paid,

together with interest as provided by law; and providing Plaintiff with such further and additional

relief as may be just.



                                                    Respectfully submitted,

                                                    NEVILLE PETERSON LLP

                                               /s/ John M. Peterson
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                                                    Counsel for Plaintiff, Scottsdale Tobacco, LLC

Dated: January 30, 2024




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